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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

 REEBOK INTERNATIONAL LTD., LLC,
 and REEBOK INTERNATIONAL
 LIMITED,
                                                    Case No. 1:23-cv-10966-RGS
                    Plaintiffs and Counterclaim
                    Defendants,
                                                    JURY TRIAL DEMANDED
         v.

 AUTRY INTERNATIONAL S.r.l and
 AUTRY USA, LLC


                    Defendants and
                    Counterclaimants.


                                              ORDER

       This matter comes before the Court on Plaintiffs’ Consented-To Motion to Withdraw

Applications for Letters of Request for International Judicial Assistance. Having considered the

Motion, the Court hereby GRANTS the Motion.

       Finding that it is necessary and appropriate in this case, it is hereby ORDERED that the

Letters of Request to obtain the production of documents from the Italian companies Lando e

Badon snc (“Lando e Badon”) [ECF 157], Ral7000studio S.r.l. (“Ral7000studio”) [ECF 158],

Style Capital Sgr S.P.A. (“Style Capital”) [ECF 159], and FFW s.r.l. d/b/a the-ffw.com (“FFW”)

[ECF 165] are withdrawn.

       The Court further presents its compliments to the Ministry of Foreign Affairs of Italy, the

appropriate central authority of the Republic of Italy, and requests international judicial assistance

to interrupt the rogatory procedure and withdraw the above-listed Letters of Request.
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Dated: _October 18, 2024



                                    __/s/ Richard G. Stearns
                                    Honorable Richard G. Stearns
                                    U.S. District Court Judge




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